Case No. 1:08-cv-01754-ZLW Document 1 filed 08/12/08 USDC Colorado pgi1of7

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 08 = CV ™ 0 ] " 5 4.

(To be supplied by the court)

UNITED Ebb
DISTRICT
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Osret Vovodrque=. Plaintiff, AUG 12 2008
GREGORY C. LANGHAM
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GENEAL Gunsel for tHe Feneral Bormeav OF Pritson S,

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Que Unknown NAVED EMPLNEE oF te Fevem BOPs USP -ADX Flomence. , DEFENDANTS.

PRISONER'S MOTION AND AFFIDAVIT
FOR LEAVE TO PROCEED PURSUANT TO 28 U.S.C, § 1915

I request leave to commence this civil action without prepayment of fees or security

therefor pursuant to 28 U.S.C. § 1915. In support of my request, I declare that:

1. Jam unable to pay such fees or give security therefor.

2. I am entitled to redress.

3, The nature of this action is:

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(Rev. 11/01/04)
Case No. 1:08-cv-01754-ZLW Document 1 filed 08/12/08 USDC Colorado pg 2of7

4." My assets and their value are listed below: (attach an additional page if necessary)

(Assets may include income from employment, rent payments, interest or dividends, pensions, annuities, life
insurance payments, Social Security, Veteran's Administration benefits, disability pensions, Worker's
Compensation, unemployment benefits, gifts or inheritances, cash, funds in bank accounts, real estate,
stocks, bonds, notes, automobiles or other valuable property (excluding ordinary household furnishings and
clothing), or any other source of income.)

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OCant> rs Morron.

5. Are you in imminent danger of serious physical injury?

__ Yes xX No (CHECK ONE). If you answered yes, briefly explain your answer:

DECLARATION UNDER PENALTY OF PERJURY

| declare under penalty of perjury that the information in this motion and affidavit is true
and correct. See 28 U.S.C. § 1746; 18 U.S.C. § 1621.

Executed on Av GUST 5S , Zooe
(Date)

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(Prisoner’s Original Signature)

Required Certification
You must attach to this motion and affidavit a certified copy of your trust fund account
statement (or institutional equivalent) for the six-month period immediately preceding the filing-
of this action. You must obtain the certified copy of your trust fund account statement (or
institutional equivalent) from the appropriate official of each penal institution at which you are or
were confined during the six-month period.

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